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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

 ROBERT HOFFMAN, #181813,               )
           Plaintiff,                   )
                                        )     No. 1:15-cv-1194
 -V-                                    )
                                        )     HONORABLE PAUL L. MALONEY
 JOAN ALFREY, et al.,                   )
            Defendants.                 )
                                        )
                                    JUDGMENT

       In accordance with the opinion entered today (ECF No. 149), and pursuant to Fed.

 R. Civ. P. 58, JUDGMENT hereby enters.

 THIS ACTION IS TERMINATED.

       IT IS SO ORDERED.

 Date: November 2, 2020                              /s/ Paul L. Maloney
                                                     Paul L. Maloney
                                                     United States District Judge
